        Case 3:08-cr-00046-LC-MD            Document 251         Filed 01/26/09       Page 1 of 1




                                    UNITED STATES DISTRICT COURT
                                    NORTHERN DISTRICT OF FLORIDA

   UNITED STATES OF AMERICA
                    VS                                            CASE NO. 3:08-CR-46-005/LAC

          SCOTT KER LE

                                    FINANCIAL REFERRAL AND ORDER

Regarding refund of funds for: X Fine,     Restitution,      Filing Fee,    Attorney Admission Fee,
   Copy Fee, Bond,         Other (Specify)

By:      Scott Kerle #06981-017 (Payee)
Address: FPC Pensacola
         110 Raby Ave.
         Pensacola, FL 32509

Receipt Number B121008DFLN308CR000046

Date of Receipt          01/22/09

Motion: N/A

Explanation: Scott Kerle’s $200.00 special assessment was paid in full on 9/9/08. The Clerk’s office
received $25.00 on the December 2008 Bureau of Prisons (BOP) reports. According to the court dockets
and financial records, Mr. Kerle does not owe any additional money. Requesting authorization to refund
the $25.00 overpayment and any other payments we may receive from the BOP for this case. There may
be a timing difference on the BOP stopping payments for this account.

WILLIAM M. McCOOL, Clerk of Court

Prepared by: __s/Philip Detweiler_____________
            Philip Detweiler, Financial Specialist               Date: January 26, 2009

Referred by:                               ,Deputy Clerk

                                           ORDER OF COURT

It is ORDERED this 26th day of January, 2009, that the Clerk refund the identified funds to the payee.

APPROVED                 X

DENIED_________________                                         s /L.A. Collier
                                                              LACEY A. COLLIER
                                                       SENIOR UNITED STATES DISTRICT JUDGE


Adopted: 12/03/99
